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 Nancy Ribaudo
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 Katherine T. Hopkins
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 KELLY HART & HALLMAN LLP
 201 Main Street, Suite 2500
 Fort Worth, Texas 76102
 Telephone:       817/332-2500
 Telecopy:        817/878-9280
 Proposed Counsel for Debtors

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION

 In re:                                                   §
                                                          §           Case No. 24-41520-ELM-11
                                                  1
 WOODBRIDGE PARTNERS L.P., et al. ,                       §
                                                          §           Chapter 11
          Debtors.                                        §
                                                          §           (Jointly Administered)
                                                          §

         APPLICATION TO APPROVE EMPLOYMENT OF KELLY HART &
      HALLMAN LLP AS COUNSEL FOR THE DEBTORS AS OF PETITION DATE

          NO HEARING WILL BE CONDUCTED HEREON UNLESS A WRITTEN
          RESPONSE IS FILED WITH THE CLERK OF THE UNITED STATES
          BANKRUPTCY COURT AT 501 W. TENTH STREET, ROOM 147, FORT
          WORTH, TEXAS 76102 BEFORE CLOSE OF BUSINESS ON JUNE 21,
          2024, WHICH IS AT LEAST TWENTY-ONE (21) DAYS FROM THE
          DATE OF SERVICE HEREOF.

          ANY RESPONSE SHALL BE IN WRITING AND FILED WITH THE
          CLERK, AND A COPY SHALL BE SERVED UPON COUNSEL FOR THE
          MOVING PARTY PRIOR TO THE DATE AND TIME SET FORTH
          HEREIN. IF A RESPONSE IS FILED, A HEARING MAY BE HELD
          WITH NOTICE ONLY TO THE OBJECTING PARTY.

          IF NO HEARING ON SUCH NOTICE OR MOTION IS TIMELY
          REQUESTED, THE RELIEF REQUESTED SHALL BE DEEMED TO BE



 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are as follows: Woodbridge Partners, LP (6716); Brentwood Nursery, Inc. (3393); Seville
 Farms, Inc. (6380); Integrated Botanics, LP (7617); GB2 Holdings, LLC (0872); and Hillister Farms, L.L.C. (5295).

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         UNOPPOSED, AND THE COURT MAY ENTER AN ORDER GRANTING
         THE RELIEF SOUGHT OR THE NOTICED ACTION MAY BE TAKEN.

         The above-referenced debtors and debtors-in-possession (each a “Debtor” and

 collectively, the “Debtors”) file this Application (the “Application”) seeking authority to retain

 and employ Kelly Hart & Hallman LLP (“Kelly Hart”) as counsel to the chapter 11 Debtors as of

 each Debtor’s petition date, pursuant to 11 U.S.C. §§ 327(a), 328(a) and 1107 of the United

 States Code (“Bankruptcy Code”), and Rule 2014(a) and 2016(b) of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”) and L.B.R. 2014-1.              In support of this

 Application, the Debtors submit the Declaration of Katherine T. Hopkins, attached hereto as

 Exhibit A (the “Hopkins Declaration”) and respectfully state as follows:

                                  I.       JURISDICTION AND VENUE

         1.       This Court has jurisdiction to consider this Application pursuant to 28 U.S.C. §§

 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A). Venue is proper

 in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           II.      BACKGROUND

         2.       On May 1, 2024 (“Petition Date”), each of the Debtors filed a voluntary petition

 for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). On

 May 10, 2024, the Court entered orders directing that the Debtors’ bankruptcy cases be jointly

 administered under Case No. 24-41520 [Docket No. 34]. The Debtors continue to manage and

 operate their businesses as debtors-in-possession pursuant to Bankruptcy Code §§ 1107 and

 1108.

         3.       No trustee or examiner has been appointed in these bankruptcy cases. No official

 committee of unsecured creditors has been appointed.



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         4.       A detailed factual background of the Debtors’ business and operations and the

 events leading up to the commencement of these Chapter 11 cases is more fully set forth in the

 Declaration of William Brentlinger in Support of Debtors’ Chapter 11 Petitions and First-Day

 Motions, filed on May 7, 2024, and is incorporated herein by reference.

                                             III.     DISCUSSION

         5.       By this Application, the Debtors request entry of an order pursuant to §§ 327(a)

 and 328(a) of the Bankruptcy Code, Bankruptcy Rule 2014 and L.B.R. 2014-1, authorizing the

 retention and employment of Kelly Hart as their counsel effective as of the Debtors’ Petition

 Date. Debtors request that the Court approve their retention of Kelly Hart for legal services

 necessary in connection with their chapter 11 cases in accordance with Kelly Hart’s normal

 hourly rates and reimbursement policies.

         A.       DEBTOR’S SELECTION OF KELLY HART

         6.       Debtors believe that the attorneys at Kelly Hart are well qualified to represent

 them in this proceeding. The attorneys in the bankruptcy group at Kelly Hart have significant

 experience in bankruptcy/reorganization matters and have represented parties in complex chapter

 11 cases throughout the country. Members of the firm have historically provided a full range of

 legal services to debtors, trustees, examiners, creditors’ committees, equity owners and secured

 and unsecured creditors and have specialized experience in representing chapter 11 debtors

 before various courts, including the Northern, Southern, Eastern and Western Districts of Texas,

 among other courts. Accordingly, Kelly Hart has the necessary background to deal effectively

 with the legal issues that may arise in the context of the Debtors’ bankruptcy cases.

         7.       Further, Kelly Hart has represented the Debtors for approximately two years in

 various matters, including but not limited to the negotiation and preparation of documents related


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 to the sale of assets, negotiation and preparation of documents related to the lease of property,

 representation in multiple state and federal court litigation, out of court negotiations and

 communications with creditors, among other matters. Through this representations, Kelly Hart

 has acquired familiarity with the Debtors’ operations, asset and debt structure, and bankruptcy

 options. Debtors believe that Kelly Hart is well qualified to represent the Debtors, as the

 debtors-in-possession in these cases and in the proceedings that should be handled by bankruptcy

 counsel for the debtors-in-possession. Furthermore, it is necessary for the Debtors, as debtors-in-

 possession, to employ attorneys to render such professional services.

         B.       PROFESSIONAL SERVICES TO BE RENDERED BY KELLY HART

         8.       The employment of Kelly Hart is appropriate to enable the Debtors to faithfully

 execute their duties as debtors-in-possession. Debtors wish to employ Kelly Hart as attorneys to

 give the Debtors legal advice with respect to the Debtors’ powers and duties as debtors-in-

 possession, operation of their businesses, sale of Debtors’ property, a plan for payment to

 creditors, and to perform all other legal services for the debtors-in-possession which may be

 necessary herein. Kelly Hart will utilize the services of other members and associates of the firm

 as necessary, at customary hourly rates.

         9.       As Debtors’ counsel, Kelly Hart will render legal services as needed in

 connection with Debtors’ chapter 11 proceedings, including, but not limited to the following:

                  a. serve as counsel of record for the Debtors in all aspects of these chapter 11
                     cases;

                  b. preparing all necessary motions, applications, draft orders, reports, and other
                     papers in connection with the administration of the Debtors’ chapter 11
                     estates;

                  c. taking all necessary actions in connection with a chapter 11 plan, related
                     disclosure statement(s) and all other related documents, and such further


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                       actions as may be required in connection with the confirmation of a plan of
                       reorganization or liquidation;

                  d. taking all necessary action to protect and preserve the Debtors’ estates,
                     including the prosecution of actions on the Debtors’ behalf, the defense of any
                     actions commenced against the Debtors, the negotiation of disputes in which
                     the Debtors are involved, and the preparation of objections to claims filed
                     against the Debtors’ estates; and

                  e. performing all other legal services for and on behalf of the Debtors that may
                     be necessary or appropriate in the administration of the chapter 11 case.

         10.      Debtors believe that the services of Kelly Hart will not duplicate the services that

 other professionals will be providing to the Debtors in these chapter 11 cases. Specifically,

 Kelly Hart will carry out unique functions and will use reasonable efforts to coordinate with the

 Debtors and the other professionals retained in these chapter 11 cases to avoid the unnecessary

 duplication of services.

         C.       DISINTERESTEDNESS OF KELLY HART

         11.      Debtors have reviewed the Hopkins Declaration.          To the best of Debtors’

 knowledge, Kelly Hart and its respective lawyers do not have any connection with the Debtors,

 their creditors, the United States Trustee, or other parties in interest, except as indicated in

 Schedule 2 attached to the Hopkins Declaration. Notwithstanding those connections, the Debtors

 believe that Kelly Hart is disinterested and neither holds nor represents any interest adverse to

 them in the matters upon which Kelly Hart is to be engaged. Kelly Hart is therefore disinterested

 and holds no claim or interest adverse to the estate.

         D.       PROPOSED ARRANGEMENT FOR COMPENSATION

         12.      Kelly Hart was employed to represent the Debtors in July 2022. Since that time,

 Kelly Hart has served as counsel to the Debtors in a variety of matters, including analysis and

 preparation in connection with bankruptcy matters; assisting with the sale and marketing of



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 assets and negotiation and preparation of documents related thereto; representation in extensive

 litigation in both state and federal courts; negotiation and preparation of documents related to

 lease of property, business matters; and out of court negotiations and communications with

 creditors, among other matters.

          13.     In connection with bankruptcy-related attorneys’ fees and reimbursable expenses,

 Kelly Hart received payment in the amount of $52,577.842 which was received within one year

 prior to the Petition Date for pre-petition bankruptcy services, and $10,428.00, for pre-petition

 filing fees. The foregoing payments were expressly related to the payment of services performed

 and reimbursement of expenses incurred by Kelly Hart for bankruptcy services provided to the

 Debtors before the Petition Date.3

          14.     Any fees for services and amounts for reimbursement of expenses after the

 Petition Date will be applied for under §§ 327 and 330 of the Bankruptcy Code, or, in the event

 of entry of an order by this Court governing procedures for interim payment of fees and

 reimbursement of expenses, Kelly Hart will comply with such order with respect to fees and

 costs.

          15.     Subject to this Court’s approval, Kelly Hart will charge for its legal services on an

 hourly basis in accordance with its standard hourly rates in effect on the date such services are

 rendered, subject to Bankruptcy Code sections 327, 328, 330, and 331. The current hourly rates

 of the Kelly Hart attorneys expected to perform legal services to the Debtors range from $300.00

 for the most junior associate who is likely to work on this matter to $800.00 for the most senior


 2
            Kelly Hart intends to amend its Disclosure of Compensation as voluntary reductions were included in the
 total set forth in that document.
 3
          Additional amounts were paid to Kelly Hart for other services unrelated to bankruptcy services, such as
 services related to the sale of assets, litigation defense, and other representations.


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 partner who may work on this matter, including: Nancy Ribaudo - $600.00/hour; Katherine

 Hopkins $585.00/hour; and Joseph Austin - $375.00/hour.4

         16.      Kelly Hart has advised Debtors that its fees are commensurate with fees charged

 to its other clients for similar services. Debtors understand that the rates charged by Kelly Hart

 may be adjusted from time to time and are usually adjusted on an annual basis.

         17.      Consistent with the firm’s policy with respect to its other clients, Kelly Hart will

 charge the Debtors for all expenses incurred in rendering services to the Debtors.                           These

 customary items include, among other things, photocopying, facsimiles, travel, business meals,

 postage, witness fees and other fees related to trials and hearings to the extend incurred by Kelly

 Hart. Internal costs and overhead costs will not be charged to the Debtors. Certain expenses for

 copying, postage, and mail out services charged by outside vendors will be invoiced to and paid

 directly by the Debtors.

         18.      Debtors believe that the hourly rate and expense policies of Kelly Hart constitute

 fair and reasonable terms for retention of Kelly Hart by the Debtors and should be approved

 under sections 327(a) and 328(a) of the Bankruptcy Code. That structure appropriately reflects

 the nature of the services to be provided by Kelly Hart and the fee structures typically utilized by

 leading firms of similar stature to Kelly Hart for comparable engagements, both in and out of

 court. The compensation structure is consistent with Kelly Hart’s normal and customary billing

 practices for cases of this size and complexity that require the level of scope and services

 outlined herein.




 4
         The full range of hourly rates include: Partners - $425.00 - $950.00/hour; Associates - $300.00 -
 $535.00/hour; and Paralegals - $170.00 - $305.00/hour.

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         19.      Kelly Hart has not received any retainer for post-petition services. And, as stated

 in the Hopkins Declaration, Kelly Hart has no agreement with any entity to share compensation

 received from the Debtor.

         20.      Debtors submit that for all the reasons stated herein and in the Hopkins

 Declaration, the retention and employment of Kelly Hart as the Debtors’ counsel pursuant to §§

 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy Rule 2014(a) is warranted. Debtors

 respectfully request that the retention of Kelly Hart be approved effective as of the Petition Date

 pursuant to L.B.R. 2014-1.

         21.      No prior application for the relief requested in this Application has been made to

 this or any other Court.

         E.       BASIS FOR RELIEF

         22.      The Debtors seek approval of Kelly Hart’s retention and compensation structure

 pursuant to §§ 327(a) and 328(a) of the Bankruptcy Code. Section 327(a) of the Bankruptcy

 Code provides, in relevant part, as follows:

                  Except as otherwise provided in this section, the trustee, with the
                  court’s approval, may employ one or more attorneys, accountants,
                  appraisers, auctioneers, or other professional persons, that do not
                  hold or represent an interest adverse to the estate, and that are
                  disinterested persons, to represent or assist the trustee in carrying
                  out the trustee’s duties under this title.

 11 U.S.C. § 327(a).

         23.      Section 328(a) of the Bankruptcy Code provides, in pertinent part, that a debtor

 “with the court’s approval, may employ or authorize the employment of a professional person

 under section 327 . . . on any reasonable terms and conditions of employment, including on a

 retainer, on an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.”

 11 U.S.C. § 328(a). Thus, § 328(a) of the Bankruptcy Code permits the compensation of

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 professionals, on flexible terms that reflect the nature of their services and market conditions. As

 the United States Court of Appeals for the Fifth Circuit recognized in Donaldson Lufkin &

 Jenrette Sec. Corp. v. Nat’l Gypsum (In re Nat’l Gypsum Co.):

                  Prior to 1978 the most able professionals were often unwilling to
                  work for bankruptcy estates where their compensation would be
                  subject to the uncertainties of what a judge thought the work was
                  worth after it had been done. That uncertainty continues under the
                  present § 330 of the Bankruptcy Code, which provides that the
                  court award to professional consultants “reasonable compensation”
                  based on relevant factors of time and comparable costs, etc. Under
                  present § 328 the professional may avoid that uncertainty by
                  obtaining court approval of the compensation agreed to with the
                  trustee (or debtor or committee).

 123 F.3d 861, 862 (5th Cir. 1997) (internal citations and emphasis omitted).

         24.      As discussed above and as set forth in the Hopkins Declaration, Kelly Hart

 satisfies the disinterestedness standard in § 327(a) of the Bankruptcy Code. Additionally, given

 the numerous issues that Kelly Hart may be required to address in the performance of the

 services for the Debtors, Kelly Hart’s commitment to the variable level of time and effort

 necessary to address all such issues as they arise and the market prices for Kelly Hart’s services

 for engagements of this nature, the Debtors believe that the terms and conditions of Kelly Hart’s

 employment are fair, reasonable, and market-based under the standards set forth in § 328(a) of

 the Bankruptcy Code and that the rate structure articulated herein and in the Hopkins Declaration

 should be approved under § 328(a).

         25.      Kelly Hart will apply for compensation and reimbursement of expenses in

 compliance with §§ 330 and 331 of the Bankruptcy Code, the applicable provisions of the

 Bankruptcy Rules, the Local Rules, and any other applicable procedures or orders of the Court.

 Kelly Hart’s fee applications for allowance of its compensation and expenses will be paid as

 authorized by the Court. Kelly Hart also intends to make a reasonable effort to comply with the

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 U.S. Trustee’s requests for information and additional disclosures as set forth in the Guidelines

 for Reviewing Applications for Compensation and Reimbursement of Expenses Filed Under 11

 U.S.C. 330 by Attorneys in Larger Chapter 11 Cases (the “Revised UST Guidelines”) both in

 connection with this Application and in the interim and final fee applications to be filed by Kelly

 Hart in the bankruptcy case.

                                       IV.      RELIEF REQUESTED

         Debtors respectfully request that the Court enter an order: (i) granting this Application,

 (ii) authorizing the Debtors to retain and employ Kelly Hart as their legal counsel, effective as of

 the Petition Date, and (iii) granting such other and further relief as may be just and proper.

                                                                 Respectfully submitted,

                                                                 Woodbridge Partners, L.P., Brentwood
                                                                 Nursery, Inc., Seville Farms, Inc.,
                                                                 Integrated Botanics, LP, GB2 Holdings,
                                                                 LLC, and Hillister Farms, L.L.C., debtors
                                                                 in possession


                                                                 By: /s/ William Brentlinger
                                                                    William Brentlinger




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

 In re:                                                      §
                                                             §             Case No. 24-41520-ELM-11
                                                     1
 WOODBRIDGE PARTNERS L.P., et al. ,                          §
                                                             §             Chapter 11
             Debtors.                                        §
                                                             §             (Jointly Administered)

      DECLARATION OF KATHERINE T. HOPKINS IN SUPPORT OF APPLICATION
     TO EMPLOY KELLY HART & HALLMAN LLP AS COUNSEL TO THE DEBTORS

             I, Katherine T. Hopkins, hereby state the following:

             1.      I am an attorney at law admitted to practice before the bar of the State of Texas

 and the United States District Court for the Northern, Southern, Eastern, and Western Districts of

 Texas, and the United States Court of Appeals for the Fifth Circuit. I am a partner in the law

 firm of Kelly Hart & Hallman LLP (“Kelly Hart”) in the firm’s Fort Worth office located at 201

 Main Street, Suite 2500, Fort Worth, Texas 76102.

             2.      I submit this Declaration in support of the Application (the “Application”) to

 retain and employ Kelly Hart as counsel to the Debtors2 and to provide disclosures required

 under Rules 2014(a) and 2016(b) of the Federal Rules of Bankruptcy Procedure.                                  Unless

 otherwise stated, I have personal knowledge of the facts stated in this Declaration. I have read

 the Application and to the best of my knowledge, I believe that it is true and correct.

             3.      To the best of my knowledge, Kelly Hart has no connection with any party in

 interest which would present a conflict with its representation of the Debtors in their chapter 11

 cases.

 1
           The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are as follows: Woodbridge Partners, LP (6716); Brentwood Nursery, Inc. (3393); Seville
 Farms, Inc. (6380); Integrated Botanics, LP (7617); GB2 Holdings, LLC (0872); and Hillister Farms, L.L.C. (5295).
 2
             Capitalized terms not otherwise defined herein shall have the meaning given to them in the Application.

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             4.   In July 2022, Kelly Hart was engaged by the Debtors, on an hourly basis, to

 provide representation and advice in connection with various matters, including potential

 bankruptcy considerations. Kelly Hart received payment in the amount of $52,577.843, which

 was received for pre-petition for bankruptcy services within one year prior to the Petition Date,

 and $10,428.00, which was received for pre-petition filing fees. The foregoing payments were

 expressly related to the payment of services performed and reimbursement of expenses incurred

 by Kelly Hart for bankruptcy services provided to the Debtors before the Petition Date.4

             5.   In preparing this Declaration, Kelly Hart staff members, under my supervision

 and direction, searched Kelly Hart’s client database to determine whether Kelly Hart has any

 relationship with the Debtors, their creditors or any known parties in interest. The list of parties

 subjected to the internal conflicts check are listed on Schedule 1. Based on the information

 known to date and after diligent inquiry, I am not aware of any connection with the Debtors,

 their creditors, any other party in interest or the United States Trustee’s office which would

 preclude Kelly Hart’s representation of the Debtors in these chapter 11 cases. While the results

 of these searches revealed no conflict of interest with regard to Kelly Hart’s anticipated

 representation of the Debtors, certain connections to parties in interest, in matters wholly

 unrelated to these cases, were revealed. Out of an abundance of caution and in the interest of full

 candor to the Court, those connections are disclosed in Schedule 2.

             6.   I do not believe any of the connections set forth in Schedule 2 would preclude

 Kelly Hart’s proposed representation of the Debtors in these chapter 11 cases because Kelly



 3
            Kelly Hart intends to amend its Disclosure of Compensation as voluntary reductions were included in the
 total set forth in that document.
 4
          Additional amounts were paid to Kelly Hart for other services unrelated to bankruptcy services, such as
 services related to the sale of assets, litigation defense, and other representation.


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 Hart’s representation of those entities is limited to discreet matters wholly unrelated to the

 Debtors and Debtors’ bankruptcy cases.                 If additional information becomes available or

 additional connections are discovered, Kelly Hart will promptly file appropriate supplemental

 disclosure information.

             7.    In the event Kelly Hart learns of a conflict of interest with one of its other former

 or current clients, Kelly Hart will recommend to the Debtors that they retain separate “conflicts”

 counsel. In such circumstances, Kelly Hart will use its best abilities not to duplicate any services

 being provided by such counsel.

             8.    Based upon all present information known to me, other than as disclosed herein, I

 believe Kelly Hart is “disinterested” and does not hold or represent any interest adverse to the

 Debtor’s estate with respect to the matters for which Kelly Hart is to be employed.

             9.    Kelly Hart proposes to provide legal services to the Debtors as chapter 11 debtors

 based on Kelly Hart’s customary hourly rates in effect when such services are performed. The

 current hourly rates of the Kelly Hart attorneys expected to perform legal services to the Debtors

 range from $300.00 for the most junior associate who is likely to work on this matter to $800.00

 for the most senior partner who is likely to work on this matter, including the following: Nancy

 Ribaudo - $600.00/hour; Katherine Hopkins - $585.00/hour; and Joseph Austin - $375.00/hour.5

 I am the partner at Kelly Hart having primary responsibility for this engagement.

             10.   Consistent with the firm’s policy with respect to its other clients, Kelly Hart will

 charge the Debtors for all services provided and for other charges and disbursements incurred in

 rendering services to the Debtors. These customary items include, among other things, large

 volume photocopying, facsimiles, travel, business meals, postage, witness fees, and other fees


 5
         The full range of hourly rates include: Partners - $425.00 - $950.00/hour; Associates - $300.00 -
 $535.00/hour; and Paralegals - $170.00 - $305.00/hour.

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 related to trials and hearings to the extent incurred by Kelly Hart. Kelly Hart’s internal costs or

 overhead costs will not be charged. Certain expenses for copying, postage, and mail out services

 charged by outside vendors will be invoiced to and paid directly by the Debtors.

             11.      Kelly Hart recognizes that the allowance of compensation for services rendered

 on behalf of the Debtors in connection with these chapter 11 proceedings and the reimbursement

 of expenses is subject to the approval and authorization of this Court. Kelly Hart intends to

 apply for compensation for professional services rendered and for reimbursement of expenses

 incurred in accordance with the applicable provisions of the Bankruptcy Code, Bankruptcy

 Rules, Local Bankruptcy Rules, orders of this Court and the United States Trustee Guidelines for

 post-petition work provided to the Debtors in connection with these chapter 11 cases. Kelly Hart

 understands that any application for fees must be supported by detailed contemporaneous time

 records.          Kelly Hart also understands that this Court’s approval of this Application for

 Employment does not constitute approval of any proposed terms of compensation and that this

 Court may allow compensation on terms different from those proposed.

             12.      Kelly Hart has no agreement with any other entity to share compensation received

 by Kelly Hart, other than among the members of Kelly Hart.

             13.      Neither Kelly Hart nor I are equity security holders or insiders of the Debtors.

             14.      Neither Kelly Hart nor I were, within two years before the date of the filing of the

 petitions in the above-captioned bankruptcy cases, a director, officer, or employee of the

 Debtors.

             15.      The foregoing constitutes the statement of Kelly Hart pursuant to Bankruptcy

 Code §§ 328(a), 329, and 504, and Bankruptcy Rules 2014(a) and 2016(b) and Local Rules

 2014-1 and 2016-1.



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             16.   Kelly Hart will comply with the U.S. Trustee’s requests for information and

 disclosures as set forth in the Guidelines for Reviewing Applications for Compensation and

 Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

 Cases (the “Revised UST Guidelines”) both in connection with this Application and the interim

 and final fee applications to be filed in the Debtors’ Cases.

             17.   Kelly Hart provides the following responses to the questions set forth in Part D of

 the Appendix B of the Revised UST Guidelines:

                     Questions Required by Part        Answer
                     D1 of the Revised UST
                     Guidelines
                     Did you agree to any              There     were    pre-petition
                     variations       from,       or   voluntary reductions and
                     alternatives to, your standard    discounts     provided      in
                     or      customary       billing   connection     with    certain
                     arrangements        for    this   services.
                     engagement?
                     Do any of the professionals       No
                     included in this engagement
                     vary their rate based on the
                     geographic location of the
                     bankruptcy case?
                     If you represented the client
                                              Kelly Hart represented the
                     in the last 12 months    Debtors in various matters.
                     prepetition, disclose your
                                              The billing rates during the
                     billing rates and material
                                              2023-2024 representation of
                     financial terms for the  the Debtors were as follows:
                     prepetition        engagement,
                                              Nancy Ribaudo - $550.00 per
                     including any adjustmentshour; Katherine Hopkins -
                     during the 12 months     $475.00 per hour; Joseph
                     prepetition. If your billing
                                              Austin - $305.00 per hour.
                     rates and material financial
                                              The variance between these
                     terms have changed post- rates in comparison to the
                     petition,      explain      the
                                              actual 2023-2024 rates was
                     difference and reasons for the
                                              the result of voluntary
                     difference.              reduction in hourly rates. The
                                              other financial terms of the
                                              pre-petition employment have
                                              not materially changed.
                     Has your client approved Kelly      Hart    anticipates


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                       your respective budget and developing a proposed budget
                       staffing plan, and, if so, for and     staffing     plan   to
                       what budget period?            reasonably comply with the
                                                      U.S. Trustee’s request for
                                                      information and additional
                                                      disclosures, as to which Kelly
                                                      Hart reserves all rights.


             18.    Based on the foregoing, I respectfully state that it is my opinion that all

 requirements for Kelly Hart’s retention by the Debtors have been met.

             I declare under penalty of perjury that the foregoing is true and correct.



 Executed: May 31, 2024                             By:    /s/ Katherine T. Hopkins___
                                                           Katherine T. Hopkins




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                                      Schedule 1

 Greater Nevada Credit Union
 The Small Business Administration
 LSQ Funding Group, L.C.
 Iron Horse Credit LLC
 Ball Horticultural Company
 2 Plant International
 3343 Locke Ave LLC
 49 Toll
 A.M.Leonard
 AA Sprinkler
 ABAA Transportation
 Abbott IPCO, Inc.
 ABC Auto Parts
 Active Cyber
 Advanced Grower Solutions, LLC
 Agrinomix
 Airgas USA, LLC
 Alexander Plant Farm Inc
 American Automatic Sprinkler, Inc.
 Amerigas - Arlington
 Amerigas - Wylie
 Arguindegui Oil Co Ii Ltd
 A-Roo Company LLC
 AT&T
 AT&T Mansfield
 Atmos Energy
 Atmos Energy Corp
 Automated Ice L.L.C.
 Aydani Wholesale Nursery LLC
 Baxter Packaging LLC
 Bellpark Horticulture
 Blackmore Company Inc
 Bobby Veselka Trucking
 Boxx Modular, Inc.
 Brentwood Nursery, Inc
 Building Janitorial Service
 Business Essentials
 BWI
 C&A TRANS, LLC


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 Carenow Corporate
 Casa Flora
 Certify, Inc.
 Charter Communications
 City Of Fort Worth
 City Of Fort Worth Water Dept.
 Coburn Supply Company
 Cokinos Energy Corporation
 Colorado County Oil Co. Inc.
 CommerceHub
 Concept Plants
 CRS Supply Group
 Cruz Hernandez
 CTI International Limited
 Dakota Distribution, LP
 De Lage Landen
 De Los Santos Farms LLC
 Dealers Electrical Supply Co.
 Del Norte Harvesting LLC
 Dex Imaging Inc
 E J Parsley
 Eagle Fuel & Oil, LP
 East Rio Hondo Water Supply Corp
 East Texas Alarm, Inc.
 East Texas Ice Machines
 Elliott Electric Supply, Inc.
 Emergency Physicians of West Bluff
 Equipment Depot
 Everbank Commercial Finance
 Express Seed Company
 Fayette Electric Coop
 Federal Express
 Fedex Freight
 Flamingo Holland, Inc.
 Foremost Co
 Four Seasons Trucking LLC
 Four Star Sales LLC
 Frontier Communications
 General Motors Financial Co, Inc.
 GIS Benefits
 Grahmann's True Value Hardware
 Green Market Systems, Inc.
 Green Trade Horticulture LLC

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 Grower Direct Supply Inc.
 H&H Golf Carts
 Harmon Trucking
 Harrell's LLC
 Helena Chemical Company
 Home Depot Credit Services
 HUB International Texas, Inc.
 Hydro Systems, Inc.
 Irrigation-Mart, Inc.
 Ivy Garth Seeds
 Jackson Walker LLP
 John Henry-WestRock
 La Grange Ice Plant
 Labels Etc. Inc.
 Landmark Plastic Corp
 Living Earth
 LSQ Funding Group
 Managed Pharmacy Programs
 Mastertag
 Mchutchison
 McKinney Trailer Rentals
 Metro Irrigation Supply
 Mica Rentals Inc. The Outhouse Comp
 Mike Joe Parsley
 Monitronics Funding LP
 MTZ Transport
 My Alarm Center, LLC
 Net RMA Processing
 Nets Trailer Leasing Of TX LLC
 North Texas Tollway Authority
 O'Reilly Auto Parts
 Orora Visual TX LLC
 Pindstrup Mosebrug A/S
 Pink Screening Inc
 Pioneer Gardens
 Pitney Bowes Global Financial Svc
 PLM Trailer Leasing, Inc.
 PNC Equipment Finance, LLC
 Premier Trailers, LLC
 Prodrivers
 Protection One Alarm Monitoring Inc
 P'S Plant Farm, LLC
 Pueblo Tires, Ltd.

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 Purvis Industries
 Qualtracks Inc
 Redneck Trailer Supplies
 Reeder Distributors, Inc
 Reliant
 Remcor
 Republic Services #070
 Richard A Harmon
 Rio Grande Waste LLC
 Rodrigo's Trucking
 Royalty Administration Int.
 Rozell Sprayer Mfg. Co.
 Salem Leasing Corporation
 Sanchez Plant Farm LLC
 Select Staff
 Service of Process Agents, Inc.
 Sessions Plant Farm
 SiteOne Landscape Supply, LLC
 Small Business Innovations
 Staples Business Credit
 Stinchcomb Associates Inc.
 Stuart Hose & Pipe Company
 Suez WTS Services USA, Inc.
 Summit Plastic Company
 Super Dave's Tire
 Teladoc Inc
 Texas Disposal Systems, Inc.
 Texas Nursery & Landscape Assn Inc.
 The Hartford
 The HC Companies, Inc.
 The Whaley Place LLC
 Tony Hernandez
 Trimble Maps
 Triple P Farms, LLC
 Tyler County Hospital
 Tyler Power Equipment
 Uline Shipping Supplies
 Underground Utility Supply LLC
 United States Treasury
 Vista Trucking LLC
 Waste Advantage
 Wells Fargo Financial Leasing
 Westrock CP LLC

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 Whitley Penn LLP
 William Lee Parson
 William Brentlinger
 Robert Brentlinger
 Williams Scotsman Inc
 Wood County Electric
 Young Hollow Nursery Inc
 Zarsky Lumber Co.
 RMA Toll Processing
 AT&T Atlanta
 AT&T Illinois
 AT&T Long Distance
 Belky Trucking
 Blackjack Water Supply
 CCRMA Toll Processing Services
 Chubb
 City of Waxahachie
 Richard Rozier Tax Assessor
 East Texas Alarm, Inc.
 Richard Moring Fayette County App.
 Fort Worth False Alarm Mgmt Sys.
 GXS, Inc.
 Johnson County - Scott Porter
 John's Heating & Air Conditioning
 JOTS Rentals
 Living Earth
 Logitec Plus Handling Technology
 Metrolina Greenhouse
 Mica Rentals Inc. - The Outhouse Comp
 Monitronics Funding LP
 My Alarm Center, LLC
 Ortiz Trucking
 OTA - Plate Pay
 Pink Screening Inc.
 Plainsman Tire
 PlantHaven International Inc.
 Robert Half Technology
 Ryder Truck Rental Inc.
 Sage Software
 Sardis Tire & Wheels
 Small Business Administration
 Smith County Tax-Assessor Coll.
 Southland Property Tax Consultants
 SRPS
 Tony Yzagruirre, Jr., Tax Assessor
 Tony's Trucking

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 Total Quality Logistics
 UPS
 US Department of the Treasury
 United Cooperative Services
 W&B Service Company, L.P.
 Tax Assessor Collector
 William Lee Parson




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                                            Schedule 2

 Kelly Hart currently represents or has represented, or has been adverse to the following parties in
 various matters as further described below.

                  Party-In-Interest                      Description of Representation

                 City of Fort Worth                  Kelly Hart previously represented and
                                                      currently represents the City of Fort
                                                      Worth in various transactional and
                                                      litigation matters wholly unrelated to the
                                                      Debtors.

             Greater Nevada Credit Union             Kelly Hart previously represented this
                                                      entity in a bankruptcy matter wholly
                                                      unrelated to the Debtors.

                   Premier Trailers                  Kelly Hart previously represented and
                                                      currently represents this entity in various
                                                      litigation matters wholly unrelated to the
                                                      Debtors.

                Elliott Electric Supply              Kelly Hart previously represented and
                                                      currently represents this entity in various
                                                      litigation matters wholly unrelated to the
                                                      Debtors.

             Reliant Worldwide Plastics              Kelly Hart has previously represented this
                                                      entity in transactional matters wholly
                                                      unrelated to the Debtors.

                     Wells Fargo                     Wells Fargo has been involved in matters
                                                      in which Kelly Hart clients were involved.
                                                      Such matters are wholly unrelated to the
                                                      Debtors.

               William A. Brentlinger                Kelly Hart has previously represented this
                                                      individual in a transactional matter wholly
                                                      unrelated to the Debtors.

                AT&T / AT&T Corp                     These entities have been involved in
                                                      matters in which Kelly Hart clients have
                                                      been involved. Such matters are wholly
                                                      unrelated to the Debtors.



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